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 6

 7

 8                              UNITED STATES BANKRUPTCY COURT

 9                               CENTRAL DISTRICT OF CALIFORNIA

10   In re:                                               )
                                                          )
11   LEWIS O’REILLY                                       ) CASE NO. 8:21-bk-12426-MW
                                                          )
12                                                        ) Chapter 7
                     Debtor                               )
13                                                        )
     __________________________________                   ) Adv. Case No. _________________
14                                                        )
     Angela Danciu and George Danciu                      )
15                                                        )
                              Plaintiffs,                 )   Adversary Complaint Objecting to
16                                                        )   Discharge of Claim And For Finding
              vs.                                         )   Claim Nondischargable Pursuant to
17                                                        )   11 U.S.C. § 523
     Lewis O’Reilly                                       )
18                                                        )
                              Defendant.                  )
19                                                        )
20   TO THE COURT AND ALL PARTIES IN INTEREST:

21            Plaintiffs and creditors Angela Danciu and George Danciu (collectively, “Danciu” or

22   “plaintiffs”) hereby object to an entry of discharge of debtor Lewis O’Reilly as to the debt he

23   owes to Danciu, and hereby request that Debtor’s debt to Danciu be excepted from any discharge

24   in the above-entitled bankruptcy case pursuant to 11 U.S.C. § 523(a)(2), and allege as follows:

25                                    FIRST CAUSE OF ACTION
                        For a Determination That Defendant’s Debts to Plaintiffs Are
26                  Not Dischargeable Because of Fraud Pursuant to 11 U.S.C. §523(a)(2)
27

28

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 1                                           INTRODUCTION

 2          1.       This is an action to object to entry of discharge in the chapter 7 bankruptcy case

 3   of defendant Debtor Lewis R. O’Reilly, case number 8:21-bk-12426-MW pending in the above

 4   referenced U.S. Bankruptcy Court for the Central District of California; as to the debt Debtor

 5   owes to plaintiffs and to seek a determination that O’Reilly’s debt to plaintiffs should be

 6   excepted from any discharge order issued in this bankruptcy pursuant to 11 U.S.C. §523(a)(2).

 7          2.       Plaintiffs contend that the debt is not dischargeable because the debt was for

 8   property and services obtained by false pretenses, false representation and actual fraud which

 9   was perpetrated by O’Reilly on Danciu when he fraudulently forged his wife’s signature on a

10   Lease and a Lease Guaranty, represented the signature as his wife’s, and plaintiffs relied on that

11   forged signature when they agreed to lease property to O’Reilly’s company subject to the forged

12   Lease and forged Guaranty.

13                                            JURISDICTION

14          3.       On 10/05/2021 Debtor filed a voluntary petition (the "Petition") for relief under

15   chapter 7 of Title 11 of the United States Code (the "Bankruptcy Code") in the above captioned

16   United States Bankruptcy Court for the Central District of California.

17          4.       The court set January 18, 2022 as the filing deadline to object to the discharge or

18   to challenge whether certain debts are dischargeable.

19          5.       As of December 17, 2021 the Meeting of Creditors has been continued to January

20   12, 2022.

21          6.       This Court has jurisdiction of this adversary proceeding pursuant to 28 U.S.C. §

22   1334 and Bankruptcy Code 11 U.S.C. § 523(a)(2) and FRBP 7001(6).

23          7.       This case is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I) and

24   157(b)(2)(J).

25                                                 VENUE

26          8.       Venue is proper under 28 U.S.C. § 1409.

27                                                PARTIES

28          9.       Plaintiffs George Danciu and Angela Danciu (collectively “Danciu” and

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 1   “plaintiffs”) are listed creditors of Debtor and are residents of Orange County California who

 2   leased commercial property located in Costa Mesa, California to Debtor’s company Kool Blast

 3   Gas, Inc. based on a false representation by Debtor O’Reilly that he and his wife had signed the

 4   Lease and the written Guaranty of Lease.

 5          10.     Defendant and debtor Lewis R. O’Reilly (“O’Reilly) is a resident of the city of

 6   Irvine, Orange County, California.

 7                                       FACTUAL ALLEGATIONS

 8   A. The Bankruptcy Action

 9          11.     On 10/05/2021 Debtor filed a voluntary petition (the "Petition") for relief under

10   chapter 7 of Title 11 of the United States Code (the "Bankruptcy Code") in the above captioned

11   United States Bankruptcy Court for the Central District of California.

12          12.     Debtor listed the plaintiffs Angela Danciu’s and George Danciu’s claim on his

13   Voluntary Petition for Bankruptcy as claim no. 4.4.

14   B. Plaintiffs’ Claim and the California Superior Court Action Against O’Reilly

15          13.     In or about November 7, 2017, Danciu entered into a written lease with Debtor’s

16   company Kool Blast Gas, Inc. (“Kool Blast”) for the rental of a commercial building in Costa

17   Mesa, California. As part of the consideration for Danciu to enter the lease and as a material

18   inducement for Danciu to enter the lease, Debtor provided Danciu with a written Lease and a

19   written Guaranty of Lease that was purportedly signed and entered by Debtor and his wife

20   Maryellen O”Reilly M.D.

21          14.     Kool Blast fell behind in payments due under the lease and on May 28, 2020

22   Danciu brought an action in the Superior Court of California, Orange County for breach of

23   contract on the Lease and for breach of contract on the Guaranty of Lease against O’Reilly and

24   Maryellen O’Reilly. A true copy of the complaint, which includes the Lease as its Exhibit A,

25   and the Lease Guaranty as its Exhibit B, is attached to this pleading as Exhibit 1 and is

26   incorporated herein by reference.

27          15.     Debtor O’Reilly filed an answer to the complaint in which Debtor stated

28   “Maryellen O’Reilly did not sign this lease and has no knowledge of it. I signed it without her

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 1   knowledge.” O’Reilly attached a document he entitled “O’Reilly Affidavit” to his answer to the

 2   complaint. In that Affidavit O’Reilly states: “I am providing this document to affirm that I

 3   signed my ex-wife’s name (Maryellen O’Reilly) to the lease document for the rental property at

 4   1351 Logan Avenue, Suite A, Costa Mesa California on November 13, 2017. … I took this

 5   action without Maryellen’s knowledge or permission to expedite the completion of this short two

 6   year lease.” A true copy of Debtor’s Answer is attached as Exhibit 2 to this pleading and is

 7   incorporated herein by reference.

 8          16.     Danciu also received a document from Debtor’s ex-wife Maryellen O’Reilly

 9   which also attested to the fact that the purported signature of Maryellen O’Reilly was not

10   actually her signature.

11          17.     In response to Debtor’s admission that he forged his ex-wife’s signature, Danciu

12   filed a First Amended Complaint that added a cause of action for fraud against Debtor O’Reilly

13   for forging his ex-wife’s signature on the Guaranty of Lease. A true copy of the First Amended

14   Complaint is attached to this complaint as Exhibit 3 and is incorporated herein by reference.

15          18.     Default was entered against Debtor O’Reilly on the First Amended Complaint on

16   September 9, 2021. A true copy of the Entry of Default is attached to this complaint as Exhibit

17   4 and is incorporated herein by reference.

18          19.     Debtor filed his present Chapter 7 Bankruptcy action before judgment was

19   entered on the default.

20   The Allegations Of Fraud

21          20.     Plaintiffs Angela Danciu and George Danciu entered into a written lease contract

22   with defendant Kool Blast for the lease of real estate located at 1351 Logan Avenue, Suite A,

23   Costa Mesa, CA. A true copy of the written Lease is attached to this complaint as Exhibit A to

24   both Exhibit 1 (the state Complaint) and Exhibit 3 (the state First Amended Complaint) and is

25   incorporated herein by reference. The contract is referred to as the “Lease” herein. The Lease

26   was signed by Kool Blast by its president Lewis O’Reilly and purportedly by Maryellen O’Reilly

27   as Kool Blast’s Corporate Secretary; additionally the Guaranty of Lease was signed and entered

28   by Lewis O’Reilly in his individual capacity and purportedly signed and entered by Maryellen

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 1   O’Reilly in her individual capacity. As noted elsewhere in this pleading, Debtor O’Reilly has

 2   since acknowledged that he forged Maryellen O’Reilly’s signature on the lease documents.

 3          21.     Under the terms of the Lease at paragraph 4.1 the “Rent” is defined as all

 4   monetary obligations of the Lessee to the Lessor under the terms of the Lease. The Rent in this

 5   Lease consists of the Base Rent and also the Lessee’s Share of the Company Area Operating

 6   Expenses, as provided in section 4.2 of the Lease. The Lessee’s share of the Operating Expenses

 7   is referred to as “CAM” charges in this complaint.

 8          22.     Paragraph 1.5 of the Lease provides that the Rent to be paid under the Lease is

 9   due on the 1st day of each month and that the Base Rent was $7,461 per month from January 1,

10   2018 to December 14, 2019.

11          23.     Paragraph 54 of the Lease provides that if the Lease is renewed, the Base Rent for

12   the Renewal Years shall be $7,915 per month for the period of December 15, 2019 to December

13   14, 2020 and $8,152 per month for the period December 15, 2020 to December 14, 2021. The

14   CAM charges are $1,580 per month.

15          24.     Kool Blast renewed the Lease for the term through December 14, 2020 and Kool

16   Blast continues to occupy the premises.

17          25.     The Lease provides at paragraph 13.5 that any monetary payment due Lessor

18   under the Lease, other than late charges, shall bear interest at 10% from the 31st day after it was

19   due.

20          26.     The Lease provides at paragraph 31 that attorney fees shall be awarded to the

21   prevailing party on any action or proceeding involving the leased premises. The same paragraph

22   allows for recovery of attorney fees incurred by Lessor in the preparation and service of notices

23   of default and consultations in connection therewith. Plaintiffs incurred attorney fees of $1,921

24   in preparing and service of the notice of default on defendant. Plaintiffs have also now incurred

25   and will continue to incur attorney fees and expenses associated with litigation in this lawsuit

26   over the defendants’ breach of lease and the related guaranty of lease.

27          27.     Defendant Kool Blast breached the lease by failing to timely pay the rent as it

28   came due under the Lease, including failing to timely pay the base rent and the CAM charges.

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 1   As of April 10, 2020 defendant Kool Blast was delinquent in its Rent and was behind in

 2   payments, and had made no payment towards the February, March, or April rent for 2020. As of

 3   April 10, 2020 Kool Blast owed $36,163 in back rent and late charges, not including the interest

 4   owed on the unpaid Rent balances.

 5           28.        On April 10, 2020 plaintiffs sent written notice to Kool Blast and to defendants

 6   Lewis O’Reilly and Maryellen O’Reilly that Kool Blast was in breach of its Lease and of the

 7   amount owed. The notice also informed the defendants that because Kool Blast had failed to

 8   timely pay rent for three consecutive months, Lessors were now demanding that rent be paid on a

 9   quarterly basis in advance as provided by paragraph 13.4 of the Lease.

10           29.        Subsequent to the April 10, 2020 notice, Kool Blast continued to breach the lease

11   by not paying the rent then due on the Lease.

12           30.        Plaintiffs have been damaged by Kool Blast’s breaches of the Lease in the amount

13   of $89,143.10, plus the incurred attorney fees, plus interest on the late rent payments. This

14   amount includes all rent payments and late charges through April of 2021, and includes the all

15   payments made through May 2021, with the last payment of $25,000 made on or about

16   December 29, 2020.

17           31.        Plaintiffs have performed all material conditions, covenants, and promises on

18   their part to be performed under the agreement, except as excused by defendant’s breaches.

19   Plaintiffs have given all notices and taken all actions necessary to sue for the damages requested

20   in this lawsuit.

21           32.        The written Lease agreement also includes a provision for recovery of attorney

22   fees and costs for the prevailing party in any action brought upon this agreement. Plaintiffs have

23   been required to hire an attorney to assist them in this lawsuit to enforce this agreement, and are

24   thus entitled to recover those attorney fees and costs.

25   Allegations On Why The Debt Should Not Be Discharged Because Of Fraud

26           33.        A true copy of the written Guaranty of Lease that was provided by O’Reilly to

27   plaintiffs to obtain the lease is attached to this complaint as Exhibit B to both Exhibit 1 (the

28   state Complaint) and Exhibit 3 (the state First Amended Complaint) and is incorporated herein

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 1   by reference.

 2          34.      Lewis O’Reilly, acting for himself and as an officer of Kool Blast and on behalf

 3   of Kool Blast, falsely and fraudulently forged the signature for Maryellen O’Reilly on the written

 4   Lease and on the written Guaranty of Lease. O’Reilly has admitted the same in his answer to the

 5   original complaint in this lawsuit, as alleged above.

 6          35.      Debtor presented the signed Lease and Guaranty to plaintiffs representing that the

 7   signatures on the documents were Lewis O’Reilly’s and that of Maryellen O’Reilly when Lewis

 8   O’Reilly knew that his representations were false and that Lewis had forged Maryellen

 9   O’Reilly’s signature on the documents without permission of Maryellen O’Reilly.

10          36.      Debtor knew that plaintiffs would rely on the representation that it was Maryellen

11   O’Reilly’s signature and plaintiffs would believe that the signature for Maryellen O’Reilly on the

12   lease documents were hers and were valid.

13          37.      Plaintiffs reasonably relied upon the forged signatures of Maryellen O’Reilly and

14   the representations that both Lewis O’Reilly and Maryellen O’Reilly had signed the Lease as

15   officers of Kool Blast and that they guaranteed the lease obligations of Kool Blast when

16   plaintiffs agreed to lease the subject property to Kool Blast.

17          38.      Plaintiffs were damaged by the fraud of defendant Debtor in that they leased the

18   subject property to Kool Blast relying upon the false representations, and Kool Blast has

19   defaulted on its duty to make rental payments, and as a result plaintiffs looked to the guaranty to

20   recover the damages they have suffered by the breaches of the Lease Agreement. But the

21   purported guarantor Maryellen O’Reilly has stated that she is not a guarantor and will not agree

22   to make payment for the losses plaintiffs will suffer because of the breaches of the Lease

23   Agreement by Kool Blast.

24          39.      As a proximate result of this fraud and forgery, Plaintiffs were damaged in an

25   amount of $89,143.10 plus interest for the unpaid rent and late charges, plus incurred attorney

26   fees, and such additional funds plaintiffs will spend on attorney fees and costs trying to recover

27   the unpaid funds under the Guaranty Agreement.

28          40.      The Bankruptcy Code at 11 U.S.C. § 523(a)(2) provides that “(a) A discharge

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 1   under section 727, 1141, 1192 [1] 1228(a), 1228(b), or 1328(b) of this title does not discharge an

 2   individual debtor from any debt— (2) for money, property, services, or an extension, renewal, or

 3   refinancing of credit, to the extent obtained by— (A) false pretenses, a false representation, or

 4   actual fraud, other than a statement respecting the debtor’s or an insider’s financial condition.”

 5

 6          WHEREFORE, Plaintiffs request judgment against Debtor/defendant O’Reilly as

 7   follows:

 8          1.      That the court declare and rule that Plaintiffs’ claim against O’Reilly shall not be

 9   discharged in this bankruptcy proceeding.

10          2.      For award of costs of suit.

11          3.      For award of attorney fees.

12          5.      For such other and further relief as the court deems just and proper.

13

14   DATED: January 10, 2021                       VOSS, COOK & THEL LLP

15

16                                                 By:        /s/ Francis T. Donohue III
                                                            Francis T. Donohue III, Esq.
17                                                          for Plaintiffs Angela Danciu and George
                                                            Danciu
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30-2020-01146632-CU-BC-CJC - ROA # 2 - DAVID H. YAMASAKI, Clerk of the Court By Valerie Hammer, Deputy Clerk.



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            6

            7
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
            8
                                  ORANGE COUNTY, CENTRAL JUSTICE CENTER
            9
                Angela Danciu and George Danciu                     )    CASE NO.
          10                                                        )
                                      Plaintiffs,                   )
          11                                                        )    Complaint for:
                       vs.                                          )
          12                                                        )    1. Breach of Contract (Lease)
                Kool Blast Gas, Inc, a California                   )    2. Breach Contract (Guaranty)
          13    Corporation; Lewis O’Reilly and Maryellen           )
                O’Reilly and Does 1 through 60;                     )    ASSIGNED FOR ALL PURPOSES TO:
          14                                                        )
                                      Defendants.                   )
          15                                                        )
          16           Plaintiffs Angela Danciu and George Danciu (“Plaintiffs”) allege as follows:

          17

          18           1.     Plaintiffs Angela Danciu and George Danciu are residents of California

          19           2.     Defendant Kool Blast Gas, Inc. is a California Corporation with its

          20    principal place of business located at 1351 Logan Avenue, Suite A, Costa Mesa. This

          21    defendant is referred to as “Kool Blast” herein.

          22           3.     Lewis O’Reilly is an individual and a resident of California.

          23           4.     Maryellen O’Reilly is an individual and resident of California.

          24           5.     Plaintiffs do not currently know the identities of defendants named herein

          25    as DOES 1 to 10. DOES 1 to 10 are in some other way liable and responsible for the

          26    damages suffered by Plaintiff as alleged herein. Plaintiff reserves the right to amend

          27    this pleading to insert the names of these persons at a later time when the name and

          28    capacity of any such Doe becomes known to Plaintiff.

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                                                         COMPLAINT

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 1

 2                                  FIRST CAUSE OF ACTION

 3                                 For Breach of Contract (Lease)

 4                           By Plaintiffs Against Kool Blast Gas, Inc.

 5          6.     Plaintiffs repeat and reallege each and every allegation contained above,

 6   as though fully set forth herein.

 7          7.     Plaintiffs Angela Danciu and George Danciu entered into a written lease

 8   contract with defendant Kool Blast for the lease of real estate located at 1351 Logan

 9   Avenue, Suite A, Costa Mesa, CA. A true and correct copy of the contract is Exhibit A

10   to this complaint and is incorporated herein by reference. The contract is referred to as

11   the “Lease” herein.

12          8.     Under the terms of the Lease at paragraph 4.1 the “Rent” is defined as all

13   monetary obligations of the Lessee to the Lessor under the terms of the Lease. The Rent

14   in this Lease consists of the Base Rent and also the Lessee’s Share of the Company Area

15   Operating Expenses, as provided in section 4.2 of the Lease. The Lessee’s share of the

16   Operating Expenses is referred to as “CAM” charges in this complaint.

17          9.     Paragraph 1.5 of the Lease provides that the Rent to be paid under the

18   Lease is due on the 1st day of each month and that the Base Rent was $7,461 per month

19   from January 1, 2018 to December 14, 2019.

20          10.    Paragraph 54 of the Lease provides that if the Lease is renewed, the Base

21   Rent for the Renewal Years shall be $7,915 per month for the period of December 15,

22   2019 to December 14, 2020 and $8,152 per month for the period December 15, 2020 to

23   December 14, 2021. The CAM charges are $1,580 per month.

24          11.    Kool Blast renewed the Lease for the term through December 14, 2020 and

25   Kool Blast continues to occupy the premises.

26          12.    The Lease provides at paragraph 13.5 that any monetary payment due

27   Lessor under the Lease, other than late charges, shall bear interest at 10% from the 31st

28   day after it was due.

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 1          13.    The Lease provides at paragraph 31 that attorney fees shall be awarded to

 2   the prevailing party on any action or proceeding involving the leased premises. The

 3   same paragraph allows for recovery of attorney fees incurred by Lessor in the

 4   preparation and service of notices of default and consultations in connection therewith.

 5   Plaintiffs incurred attorney fees of $1,921 in preparing and service of the notice of

 6   default on defendant. Plaintiffs have also now incurred and will continue to incur

 7   attorney fees and expenses associated with litigation in this lawsuit over the

 8   defendants’ breach of lease and the related guaranty of lease.

 9          14.    Defendant Kool Blast has breached the lease by failing to timely pay the

10   rent as it came due under the Lease, including failing to timely pay the base rent and

11   the CAM charges. As of April 10, 2020 defendant Kool Blast was delinquent in its Rent

12   and was behind in payments, and had made no payment towards the February, March,

13   or April rent for 2020. As of April 10, 2020 Kool Blast owed $36,163 in back rent and

14   late charges, not including the interest owed on the unpaid Rent balances.

15          15.    On April 10, 2020 plaintiffs sent written notice to Kool Blast and to

16   defendants Lewis O’Reilly and Maryellen O’Reilly that Kool Blast was in breach of its

17   Lease and of the amount owed. The notice also informed the defendants that because

18   Kool Blast had failed to timely pay rent for three consecutive months, Lessors were now

19   demanding that rent be paid on a quarterly basis in advance as provided by paragraph

20   13.4 of the Lease.

21          16.    No rent payment has been made to Plaintiffs since a partial payment was

22   last made in January 2020.

23          17.    Plaintiffs have been damaged by Kool Blast’s breaches of the Lease in an

24   in the amount of at least $108,324, plus late charges on payments due after May 10,

25   2020, plus the incurred attorney fees, and plus interest on the late rent payments. This

26   amount includes all rent payments and late charges through May of 2020, and includes

27   the rent payments (Base Rent and CAMs) through the remainder of the Lease ending

28   December 14, 2020.

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                                            COMPLAINT

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 1          18.    Plaintiffs have performed all material conditions, covenants, and promises

 2   on their part to be performed under the agreement, except as excused by defendant’s

 3   breaches. Plaintiffs have given all notices and taken all actions necessary to sue for the

 4   damages requested in this lawsuit.

 5          19.    The written Lease agreement also includes a provision for recovery of

 6   attorney fees and costs for the prevailing party in any action brought upon this

 7   agreement. Plaintiffs have been required to hire an attorney to assist them in this

 8   lawsuit to enforce this agreement, and are thus entitled to recover those attorney fees

 9   and costs.

10

11                                SECOND CAUSE OF ACTION

12                              For Breach of Contract (Guaranty)

13        By All Plaintiffs against Defendants Lewis O’Reilly and Maryellen O’Reilly

14          20.    Plaintiffs repeat and reallege each and every allegation in paragraphs 1

15   through 19 above as though fully set forth herein.

16          21.    As part of the consideration for Plaintiffs to lease the premises to Kool

17   Blast, both Lewis O’Reilly and Maryellen O’Reilly entered a written agreement with

18   Plaintiffs in which Lewis O’Reilly and Maryellen O’Reilly agreed to guaranty the

19   obligations of Kool Blast under the Lease. Lewis O’Reilly and Maryellen O’Reilly are

20   referred to as “Guarantors” herein. A true copy of the written guaranty is attached to

21   this pleading as Exhibit B and its terms are incorporated herein.

22          22.    Guarantors have breached the Guaranty Agreement because despite

23   receiving notice of the breach by Kool Blast, Guarantors have failed to pay any or all of

24   the rent and other payments owed by Kool Blast to plaintiffs under the Lease.

25          23.    Plaintiffs have been damaged by Guarantor’s breaches of the Guaranty

26   Agreement in an amount in the amount of at least $108,324, plus late charges on

27   payments due after May 10, 2020, and plus interest on the late rent payments. This

28   amount includes all rent payments and late charges through May of 2020, and includes

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                                            COMPLAINT

                                                                                      EXHIBIT 1 pg. 4
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 1   the rent payments (Base Rent and CAMs) through the remainder of the Lease ending

 2   December 14, 2020.

 3          24.    Plaintiffs have performed all material conditions, covenants, and promises

 4   on their part to be performed under the agreement, except as excused by defendant’s

 5   breaches. Plaintiffs have given all notices and taken all actions necessary to sue for the

 6   damages requested in this lawsuit.

 7          25.    The written Guaranty Agreement and the Lease both includes a provision

 8   for recovery of attorney fees and costs for the prevailing party in any action brought

 9   upon the Lease or Guaranty Agreement. Plaintiffs have been required to hire an

10   attorney to assist them in this lawsuit to enforce this agreement, and are thus entitled to

11   recover those attorney fees and costs.

12

13          WHEREFORE, Plaintiffs request judgment against Defendants as follows:

14          1.     For monetary damages of $108,324 or such larger amount as proven at

15   trial, plus pre-litigation attorney fees of $1,921, plus interest according to contract, plus

16   such other damages that result from the failure of defendants to pay the additional rent

17   as the rent comes due thereafter.

18          2.     For costs of suit.

19          3.     For attorney fees.

20          4.     For such other and further relief as the court deems just and proper.

21

22   DATED: May 26, 2020                        VOSS, COOK & THEL LLP

23

24                                              By:
                                                         Francis T. Donohue III, Esq.
25                                                       for Plaintiffs
26

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                                              COMPLAINT

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30-2020-01146632-CU-BC-CJC - ROA # 27 - DAVID H. YAMASAKI, Clerk of the Court By Kari Frumento, Deputy Clerk.




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           4
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           5

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           7
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
           8
                                  ORANGE COUNTY, CENTRAL JUSTICE CENTER
           9
                Angela Danciu and George Danciu                     )   CASE NO. 30-2020-01146632-CU-BC- CJC
          10                                                        )
                                      Plaintiffs,                   )    First Amended Complaint for:
          11                                                        )
                       vs.                                          )    1. Breach of Contract (Lease)
          12                                                        )    2. Breach Contract (Guaranty)
                Kool Blast Gas, Inc., a California                  )    3. Fraud
          13    Corporation; Lewis O’Reilly, and Does 1             )
                through 10                                          )
          14                                                        )
                                      Defendants.                   )
          15                                                        )
          16           Plaintiffs Angela Danciu and George Danciu (“Plaintiffs”) allege as follows:

          17           1.     Plaintiffs Angela Danciu and George Danciu are residents of California

          18           2.     Defendant Kool Blast Gas, Inc. is a California Corporation with its

          19   principal place of business located at 1351 Logan Avenue, Suite A, Costa Mesa. This

          20   defendant is referred to as “Kool Blast” herein.

          21           3.     Lewis O’Reilly is an individual and a resident of California.

          22           4.     [Intentionally omitted.]

          23           5.     Plaintiffs do not currently know the identities of defendants named herein

          24   as DOES 1 to 10. DOES 1 to 10 are in some other way liable and responsible for the

          25   damages suffered by Plaintiff as alleged herein. Plaintiff reserves the right to amend

          26   this pleading to insert the names of these persons at a later time when the name and

          27   capacity of any such Doe becomes known to Plaintiff.

          28

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 1

 2                                  FIRST CAUSE OF ACTION

 3                                 For Breach of Contract (Lease)

 4                           By Plaintiffs Against Kool Blast Glass, Inc.

 5          6.     Plaintiffs repeat and reallege each and every allegation contained above,

 6   as though fully set forth herein.

 7          7.     Plaintiffs Angela Danciu and George Danciu entered into a written lease

 8   contract with defendant Kool Blast for the lease of real estate located at 1351 Logan

 9   Avenue, Suite A, Costa Mesa, CA. A true and correct copy of the contract is Exhibit A

10   to this complaint and is incorporated herein by reference. The contract is referred to as

11   the “Lease” herein.

12          8.     Under the terms of the Lease at paragraph 4.1 the “Rent” is defined as all

13   monetary obligations of the Lessee to the Lessor under the terms of the Lease. The Rent

14   in this Lease consists of the Base Rent and also the Lessee’s Share of the Company Area

15   Operating Expenses, as provided in section 4.2 of the Lease. The Lessee’s share of the

16   Operating Expenses is referred to as “CAM” charges in this complaint.

17          9.     Paragraph 1.5 of the Lease provides that the Rent to be paid under the

18   Lease is due on the 1st day of each month and that the Base Rent was $7,461 per month

19   from January 1, 2018 to December 14, 2019.

20          10.    Paragraph 54 of the Lease provides that if the Lease is renewed, the Base

21   Rent for the Renewal Years shall be $7,915 per month for the period of December 15,

22   2019 to December 14, 2020 and $8,152 per month for the period December 15, 2020 to

23   December 14, 2021. The CAM charges are $1,580 per month.

24          11.    Kool Blast renewed the Lease for the term through December 14, 2020 and

25   Kool Blast continues to occupy the premises.

26          12.    The Lease provides at paragraph 13.5 that any monetary payment due

27   Lessor under the Lease, other than late charges, shall bear interest at 10% from the 31st

28   day after it was due.

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                                    FIRST AMENDED COMPLAINT

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 1          13.    The Lease provides at paragraph 31 that attorney fees shall be awarded to

 2   the prevailing party on any action or proceeding involving the leased premises. The

 3   same paragraph allows for recovery of attorney fees incurred by Lessor in the

 4   preparation and service of notices of default and consultations in connection therewith.

 5   Plaintiffs incurred attorney fees of $1,921 in preparing and service of the notice of

 6   default on defendant. Plaintiffs have also now incurred and will continue to incur

 7   attorney fees and expenses associated with litigation in this lawsuit over the

 8   defendants’ breach of lease and the related guaranty of lease.

 9          14.    Defendant Kool Blast has breached the lease by failing timely pay the rent

10   as it came due under the Lease, including failing to timely pay the base rent and the

11   CAM charges. As of April 10, 2020 defendant Kool Blast was delinquent in its Rent and

12   was behind in payments, and had made no payment towards the February, March, or

13   April rent for 2020. As of April 10, 2020 Kool Blast owed $36,163 in back rent and late

14   charges, not including the interest owed on the unpaid Rent balances.

15          15.    On April 10, 2020 plaintiffs sent written notice to Kool Blast and to

16   defendants Lewis O’Reilly and Maryellen O’Reilly that Kool Blast was in breach of its

17   Lease and of the amount owed. The notice also informed the defendants that because

18   Kool Blast had failed to timely pay rent for three consecutive months, Lessors were now

19   demanding that rent be paid on a quarterly basis in advance as provided by paragraph

20   13.4 of the Lease.

21          16.    Subsequent to the April 10, 2020 notice, no rent payment was timely

22   made, although a payment of $25,000 was made on or about December 29, 2020.

23          17.    Plaintiffs have been damaged by Kool Blast’s breaches of the Lease in an

24   in the amount of at least $116,502, plus the incurred attorney fees, and plus interest on

25   the late rent payments. This amount includes all rent payments and late charges

26   through April of 2021, and includes the all payments made through May 2021, with the

27   last payment of $25,000 made on or about December 29, 2020.

28          18.    Plaintiffs have performed all material conditions, covenants, and promises

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 1   on their part to be performed under the agreement, except as excused by defendant’s

 2   breaches. Plaintiffs have given all notices and taken all actions necessary to sue for the

 3   damages requested in this lawsuit.

 4          19.    The written Lease agreement also includes a provision for recovery of

 5   attorney fees and costs for the prevailing party in any action brought upon this

 6   agreement. Plaintiffs have been required to hire an attorney to assist them in this

 7   lawsuit to enforce this agreement, and are thus entitled to recover those attorney fees

 8   and costs.

 9

10                                SECOND CAUSE OF ACTION

11                              For Breach of Contract (Guaranty)

12                     By All Plaintiffs against Defendant Lewis O’Reilly

13          20.    Plaintiffs repeat and reallege each and every allegation in paragraphs 1

14   through 19 above as though fully set forth herein.

15          21.    As part of the consideration for Plaintiffs to lease the premises to Kool

16   Blast, both Lewis O’Reilly and Maryellen O’Reilly entered a written agreement with

17   Plaintiffs in which Lewis O’Reilly and Maryellen O’Reilly agreed to guaranty the

18   obligations of Kool Blast under the Lease. Lewis O’Reilly and Maryellen O’Reilly are

19   referred to as “Guarantors” herein. A true copy of the written guaranty is attached to

20   this pleading as Exhibit B and its terms are incorporated herein.

21          22.    Guarantors have breached the Guaranty Agreement because despite

22   receiving notice of the breach by Kool Blast, Guarantors have failed to pay any or all of

23   the rent and other payments owed by Kool Blast to plaintiffs under the Lease.

24          23.    Plaintiffs have been damaged by Guarantor’s breaches of the Guaranty

25   Agreement in an amount in the amount of at least $116,502 plus interest on the late rent

26   payments, plus incurred attorney fees and costs.

27          24.    Plaintiffs have performed all material conditions, covenants, and promises

28   on their part to be performed under the agreement, except as excused by defendant’s

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                                   FIRST AMENDED COMPLAINT

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 1   breaches. Plaintiffs have given all notices and taken all actions necessary to sue for the

 2   damages requested in this lawsuit.

 3          25.    The written Guaranty Agreement and the Lease both includes a provision

 4   for recovery of attorney fees and costs for the prevailing party in any action brought

 5   upon the Lease or Guaranty Agreement. Plaintiffs have been required to hire an

 6   attorney to assist them in this lawsuit to enforce this agreement, and are thus entitled to

 7   recover those attorney fees and costs.

 8

 9                                 THIRD CAUSE OF ACTION

10                                            For Fraud

11                           By All Plaintiffs against All Defendants

12          26.    Plaintiffs repeat and reallege each and every allegation in paragraphs 1

13   through 25 above as though fully set forth herein.

14          27.    Lewis O’Reilly, acting for himself and as an officer of Kool Blast and on

15   behalf of Kool Blast, falsely and fraudulently forged the signature for Maryellen

16   O’Reilly on the written Guaranty Agreement (Exhibit B.) Lewis O’Reilly has admitted

17   the same in his answer to the original complaint in this lawsuit, and plaintiffs

18   discovered the fraud in 2021 at or about the time that they received O’Reilly’s

19   declaration that he had forged Maryellen O’Reilly’s signature.

20          28.    Lewis O’Reilly and Kool Blast presented the Guaranty Agreement to

21   plaintiffs representing that the signatures on the Guaranty were Lewis O’Reilly’s and

22   that of Maryellen O’Reilly when Lewis O’Reilly and Kool Blast knew that the

23   representations were false and that Lewis had forged Maryellen O’Reilly’s signature on

24   the Guaranty Agreement without permission of Maryellen O’Reilly.

25          29.    Plaintiffs are informed and believe and thereon allege that defendant Does

26   1-3 knew or reasonably should have known that the signature of Maryellen O’Reilly

27   was forged and was not her real or authorized signature, that the representations that it

28   was her valid signature were false, and that plaintiffs would rely upon those

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                                   FIRST AMENDED COMPLAINT

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 1   representations.

 2          30.    Plaintiffs are informed and believe and thereon allege that Does 1-3 aided

 3   and abetted Kool Blast and Lewis O’Reilly in their fraud by not disclosing to plaintiffs

 4   that the signature of Maryellen O’Reilly was forged and that it was not her real or

 5   authorized signature, and that by presenting the Guaranty Agreement bearing the

 6   fraudulent Maryellen O’Reilly signature to plaintiffs they represented that it was

 7   Maryellen O’Reilly’s signature. Plaintiffs further allege that defendants knew that

 8   plaintiffs would rely on the representation that it was Maryellen O’Reilly’s signature

 9   and Plaintiffs would believe that the signature for Maryellen O’Reilly on the Guaranty

10   Agreement was hers and was valid.

11          31.    Plaintiffs reasonably relied upon the forged signature of Maryellen

12   O’Reilly and the representations that both Lewis O’Reilly and Maryellen O’Reilly had

13   guaranteed the lease obligations of Kool Blast when plaintiffs agreed to lease the subject

14   property to Kool Blast.

15          32.    Plaintiffs were damaged by the fraud of defendants in that they leased the

16   subject property to Kool Blast relying upon the false representations, and Kool Blast has

17   defaulted on its duty to make rental payments, and as a result plaintiffs will need to

18   look to the guaranty to recover the damages they have suffered by the breaches of the

19   Lease Agreement. But the purported guarantor Maryellen O’Reilly has stated that she

20   is not a guarantor and will not agree to make payment for the losses plaintiffs will

21   suffer because of the breaches of the Lease Agreement by Kool Blast.

22          33.    As a proximate result of this fraud and forgery, Plaintiffs were damaged

23   in an amount of at least $116,502 plus interest for the unpaid rent and late charges, plus

24   incurred attorney fees, and such additional funds plaintiffs will spend on attorney fees

25   and costs trying to recover the unpaid funds under the Guaranty Agreement.

26          34.    The above alleged acts of defendants include acts of fraud that were done

27   with knowledge that plaintiffs could be harmed by the deception. These acts were done

28   with such malice and oppression that exemplary damages should be awarded against

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 1   each of them.

 2

 3          WHEREFORE, Plaintiffs request judgment against Defendants as follows:

 4          1.       For monetary damages of $116,502 or such larger amount as proven at

 5   trial, plus pre-litigation attorney fees of $1,921, plus interest according to contract, plus

 6   such other damages that result from the failure of defendants to pay the additional rent

 7   as the rent comes due thereafter.

 8          2.       For costs of suit.

 9          3.       For attorney fees.

10          4.       For award of punitive damages based on the Fourth Cause of Action.

11          5.       For such other and further relief as the court deems just and proper.

12

13   DATED: June 16, 2021                       VOSS, COOK & THEL LLP

14

15                                              By:
                                                         Francis T. Donohue III, Esq.
16                                                       for Plaintiffs
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                                             EXHIBIT B




                                                                 EXHIBIT 3 pg. 27
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                                                            EXHIBIT B pg. 1
                                                               EXHIBIT 3 pg. 28
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                            EXHIBIT 4
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                                    First Amended Complaint filed




                                                                    EXHIBIT 4 pg. 1
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                                                                   EXHIBIT 4 pg. 2
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  B1040 (FORM 1040) (12/15)

         ADVERSARY PROCEEDING COVER SHEET                                                        ADVERSARY PROCEEDING NUMBER
                                                                                                 (Court Use Only)
                 (Instructions on Reverse)

PLAINTIFFS                                                                        DEFENDANTS
Angela Danciu and George Danciu                                                      Lewis O’Reilly


ATTORNEYS (Firm Name, Address, and Telephone No.)                                 ATTORNEYS (If Known)
Francis T. Donohue III, Esq. (CSB# 106801)                                        Charles W. Daff, Esq.
 VOSS, COOK & THEL LLP, 2301 Dupont Drive, Suite 500                              2107 N. Broadway, Suite 308
 Irvine, California 92612-7504
 Telephone (949) 435-0225                                                         Santa Ana, CA 92706
PARTY (Check One Box Only)                                                        PARTY (Check One Box Only)
                  Trustee/Bankruptcy Admin                                          Debtor                 U.S. Trustee/Bankruptcy Admin
                                                                                    Creditor               Other
                                                                                    Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Seeking a Determination That Defendant’s Debts to Plaintiffs Are Not Dischargeable Because of Fraud
Pursuant to 11 U.S.C. §523(a)(2) based on claim that Debtor fraudulently forged his wife's
signature on a Lease and Lease Guaranty


                                                                      NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                     FRBP 7001(6) – Dischargeability (continued)
    11-Recovery of money/property - §542 turnover of property                        61-Dischargeability - §523(a)(5), domestic support
    12-Recovery of money/property - §547 preference                                  68-Dischargeability - §523(a)(6), willful and malicious injury
    13-Recovery of money/property - §548 fraudulent transfer                         63-Dischargeability - §523(a)(8), student loan
    14-Recovery of money/property - other                                            64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                        (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien                              65-Dischargeability - other
    21-Validity, priority or extent of lien or other interest in property
                                                                                  FRBP 7001(7) – Injunctive Relief
    FRBP 7001(3) – Approval of Sale of Property                                      71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                     72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge                              FRBP 7001(8) Subordination of Claim or Interest
    41-Objection / revocation of discharge - §727(c),(d),(e)                         81-Subordination of claim or interest

    FRBP 7001(5) – Revocation of Confirmation
                                                                                  FRBP 7001(9) Declaratory Judgment
    51-Revocation of confirmation                                                    91-Declaratory judgment

    FRBP 7001(6) – Dischargeability                                               FRBP 7001(10) Determination of Removed Action
    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
                                                                                     01-Determination of removed claim or cause
    62-Dischargeability - §523(a)(2), false pretenses, false representation,
        actual fraud                                                              Other
    67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny       SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                       (continued next column)                                        02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
  Check if this case involves a substantive issue of state law                      Check if this is asserted to be a class action under FRCP 23
                 trial is demanded in complaint                                   Demand $
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                         Lewis O'Reilly
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                    NAME OF JUDGE

                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                 ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                    NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
